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                     UNITED STATES DISTRICT COURT FOR THE
                          DISTRICT OF MASSACHUSETTS

SAMUEL KATZ and LYNNE RHODES,             )
individually, and on their own behalf and on
                                          )
behalf of all others similarly situated,  )
                                          )
            Plaintiffs,                   )
                                          ) Case No. 1:18-cv-10506-ADB-DLC
v.                                        )
                                          )
LIBERTY POWER CORP., LLC, et al.,         )
                                          )
            Defendants.                   )
__________________________________________)
LIBERTY POWER CORP., LLC, and             )
LIBERTY POWER HOLDINGS, LLC,              )
                                          )
            Third-Party Plaintiffs,       )
                                          )
v.                                        )
                                          )
MEZZI MARKETING, LLC,                     )
                                          )
            Third-Party Defendant.        )
                                          )
                                          )
LIBERTY POWER CORP., LLC,                 )
                                          )
            Counterclaim-Plaintiff,       )
                                          )
v.                                        )
                                          )
SAMUEL KATZ,                              )
                                          )
            Counterclaim-Defendant.       )
__________________________________________)

                  DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’
                        SECOND AMENDED COMPLAINT

       Defendants Liberty Power Corp., LLC, and Liberty Power Holdings, LLC (collectively,

“Defendants”), by counsel, pursuant to Fed. R. Civ. P. 12(b)(1), move to dismiss Plaintiffs’

Second Amended Complaint (ECF No. 109) for lack of subject matter jurisdiction. In support
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thereof, Defendants refer the Court to the accompanying Memorandum in Support filed

simultaneously herewith.

                                            Dated: January 15, 2021

                                            Respectfully Submitted,

                                            Defendants Liberty Power Corp., LLC and
                                            Liberty Power Holdings, LLC


                                            By Their Attorneys:

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                                            LLC and Liberty Power Holdings, LLC




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               LOCAL RULE 7.1(a)(2) CERTIFICATE OF COMPLIANCE

       I, Charles A. Zdebski, counsel for Defendants, hereby certify that on December 8, 2020,

at approximately 3:00 pm EST, I conferred telephonically with counsel for the Plaintiffs Shaun

Lieberman who opposed the relief sought herein.

                                                   /s/ Charles A. Zdebski
                                                     Charles A. Zdebski




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
to:

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